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 6   Attorneys for Plaintiffs and Counterclaim-Defendants
 7   Alfred Frank Menconi and Debra Lynne Menconi

 8   [ADDITIONAL SIGNATURES AT END]
 9
                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
     Alfred Frank Menconi and                      CASE NO.: 2:16-cv-6352 PA (KSx)
12   Debra Lynne Menconi, Individuals,
13                                                 JOINT STIPULATION OF
                     Plaintiffs,                   VOLUNTARY DISMISSAL WITH
14   v.                                            PREJUDICE
15
     Mirage Group Consultants, Inc.,
16   a Florida corporation,
17
                     Defendant.
18

19   Mirage Group Consultants, Inc.,
     a Florida corporation,
20

21                   Counterclaimant,
     v.
22

23   Debra Lynne Menconi, an Individual,
24
                     Counterclaim-Defendants.
25

26

27         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
28
     plaintiff Alfred Frank Menconi and plaintiff / counterclaim-defendant Debra Lynne

     JOINT STIP. OF VOLUNTARY DISMISSAL   PAGE 1 OF 3
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 1   Menconi and defendant / counterclaimant Mirage Group Consultants, Inc. hereby

 2   stipulate as follows:
 3
           1.      Alfred F. Menconi’s and Debra L. Menconi’s claims against Mirage
 4

 5                 Group Consultants, Inc. are dismissed with prejudice.

 6         2.      Mirage Group Consultants, Inc.’s claim against Debra Lynne Menconi
 7
                   is dismissed with prejudice.
 8

 9         3.      Each party shall bear their/its own attorneys’ fees and costs.

10         Counsel for Mirage Group Consultants, Inc. has authorized counsel for Alfred
11
     F. Menconi and Debra L. Menconi to file this stipulation on their behalf.
12

13   Dated: August 7, 2017.               Respectfully submitted,
14                                                  By: /s/ Victoria E. Brieant
15                                                  Victoria E. Brieant
                                                    California Bar No. 141519
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20                                                  Attorneys for Plaintiffs
21                                                  Alfred Frank Menconi and
                                                    Debra Lynne Menconi
22

23   Dated: August 7, 2017.                         By: /s/ Thomas P. Davis
                                                    California Bar No. 70599
24                                                  DAVIS LAW APC
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                                                    Laguna Beach, CA 92651
26
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27                                                  Email: tpd@tpdavislaw.com
28


     JOINT STIP. OF VOLUNTARY DISMISSAL         PAGE 2 OF 3
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 1

 2                                   CERTIFICATE OF SERVICE

 3      I hereby certify that on this 7th day of August, 2017, I will electronically file the
 4   foregoing the foregoing JOINT STIPULATION OF VOLUNTARY DISMISSAL
 5
     WITH PREJUDICE with the Clerk of the Court using the CM/ECF system, which
 6

 7   will then send a Notification of Filing (NEF) to all counsel of record at the addresses
 8   below:
 9

10   Thomas P. Davis at tpd@davislaw.com; and
11
     Nicole C. Toft at nt@davislaw.com.
12
                                               By: /s/ Victoria E. Brieant
13

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     JOINT STIP. OF VOLUNTARY DISMISSAL    PAGE 3 OF 3
